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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     US EQUAL EMPLOYMENT                                Case No. 24-cv-06859-PCP
                                         OPPORTUNITY COMMISSION, et al.,
                                   8                    Plaintiffs,                         ORDER GRANTING MOTION TO
                                   9                                                        INTERVENE AND STAYING CASE IN
                                                 v.                                         PART
                                  10
                                         LUSH HANDMADE COSMETICS, LLC,                      Re: Dkt. No. 29
                                  11                    Defendant.
                                  12
Northern District of California
 United States District Court




                                  13          The United States Equal Employment Opportunity Commission initiated this case against

                                  14   defendant Lush Handmade Cosmetics, LLC in September 2024. On behalf of Charging Party

                                  15   Emma Robertson and similarly aggrieved employees, the EEOC brought suit under Title VII of

                                  16   the Civil Rights Act of 1964. The First Amended Complaint alleges that Lush subjected Robertson

                                  17   and a class of similarly aggrieved employees to a hostile work environment because of their sex,

                                  18   sexual orientation, and gender identity. An employer who discriminates against an individual
                                  19   based on their gender identity or sexual orientation violates Title VII’s prohibition on employment

                                  20   discrimination on the basis of sex. Bostock v. Clayton Cnty., 590 U.S. 644, 651–52 (2020) (“An

                                  21   employer who fires an individual for being homosexual or transgender fires that person for traits

                                  22   or actions it would not have questioned in members of a different sex. Sex plays a necessary and

                                  23   undisguisable role in the decision, exactly what Title VII forbids.”).

                                  24          On January 20, 2025, President Trump signed Executive Order 14168, the stated purpose

                                  25   of which is to “Defend[] Women From Gender Ideology Extremism and Restor[e] Biological

                                  26   Truth to the Federal Government.” Shortly thereafter, the United States Office of Personnel
                                  27   Management issued a guidance memo requiring all agencies to “take prompt actions to end all

                                  28   agency programs that use taxpayer money to promote or reflect gender ideology” as defined in
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                                   1   President Trump’s executive order. Office of Personnel Management Memorandum, Initial

                                   2   Guidance Regarding President Trump’s Executive Order Defending Women (Jan. 29, 2025). The

                                   3   EEOC and Lush subsequently stipulated to dismiss the EEOC’s complaint with prejudice

                                   4   following a 30-day stay of proceedings during which Robertson would be provided with an

                                   5   opportunity to intervene to continue prosecuting this matter. Robertson and a similarly aggrieved

                                   6   employee, Mx. Harris, then filed a motion to intervene with a proposed complaint-in-intervention.

                                   7   Lush does not oppose the motion.

                                   8          On April 10, 2025, the Court held a hearing on the motion to intervene and the stipulation

                                   9   to dismiss the EEOC’s complaint. Because Lush does not oppose the motion to intervene, the

                                  10   Court granted that motion. Robertson and Harris’s complaint was deemed filed as of April 10,

                                  11   2025, and Lush’s response to that complaint must be filed by May 12, 2025.

                                  12          At the hearing, the EEOC confirmed that its stipulation reflects neither an assessment of
Northern District of California
 United States District Court




                                  13   the merits of this case nor a dispute about what constitutes harassment in violation of Title VII

                                  14   under existing law. Instead, the EEOC stated that the dismissal reflects a change in this

                                  15   administration’s enforcement priorities. Under these circumstances, the Court takes the stipulation

                                  16   under submission until the filing of any Rule 12(a) answer to the complaint-in-intervention. While

                                  17   the stipulation remains under submission, the Court stays all proceedings regarding the EEOC’s

                                  18   complaint. Proceedings between the intervenors and Lush shall continue in the normal course.

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                                  20          IT IS SO ORDERED.

                                  21   Dated: April 11, 2025

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                                                                                                    P. Casey Pitts
                                  24                                                                United States District Judge
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